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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF PUERTO RICO
        _______________________________________________________________

        IN RE:
                                                            Case No. 17-01713 ESL

        ALEXIS RAMIREZ ROSADO

        Debtor(s)
                                                            Chapter 13

        _______________________________________________________________

                    MOTION SEEKING LEAVE TO CONSIGN FUNDS

        TO THE HONORABLE COURT:

              COMES NOW, Debtor, ALEXIS RAMIREZ ROSADO, through his
        undersigned attorney and respectfully avers and prays:

        1. On March 14, 2017 , Debtor filed the instant bankruptcy case (Docket #1).

        2. Debtor and his spouse Elsie Berrios-Salgado, reside at 28-17 Calle 13,

           Urb. Santa Rosa, Bayamón, Puerto Rico 00956 which is their only

           residence.


        3. On March 28, 2006, Debtor and his non-filing spouse, Elsie Berrios,

           acquired above mentioned real estate property.




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        4. Debtor’s real estate property has a lien in favor of Banco Popular de Puerto

             Rico by means of a recorded Mortgage Note issued by Hector Nazario-

             Cortes, his spouse Ana López Rodríguez, the previous owners and their

             daughter Glenda Rose Nazario López .


        5. On July 22, 2013, Banco Popular de Puerto Rico filed a debt collection

             and foreclosure procedure solely against Alexis Ramirez Rosado and his

             spouse Elsie Berrios. Civil Case No. DCD 13-2003 (502), Banco Popular

             de Puerto Rico v. Alexis Ramirez Rosado and Elsie E. Berrios, Superior

             Court, Bayamon Part.

        6.    Popular did not accumulate in this monies collection and foreclosure

             procedure the original borrowers, Mr. Hector Nazario-Cortes, Ana Lopez

             Rodríguez and their daughter Glenda Rose Nazario López.

        7. On November 7, 2013, Banco Popular de Puerto Rico obtained judgment

             in the above mentioned collection procedure and debt collection solely

             against Debtor Rosado and his spouse Berrios. Popular did not obtain

             judgment against the signers of the Mortgage Note. Thus, Popular implicitly

             substituted the Mortgage Note signers for Debtor and his spouse as the



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           borrowers.


        8. After Petition for Relief was filed Debtor attended at various times the

           offices of Popular to make the monthly payments and tried to reach a loss

           mitigation agreement whereas he could retain his residence.


        9. The agents and/or officials of Banco Popular has refused to accept the

           tendered monthly payments alleging lack of privity with the mortgage loan.

           The same loan for which Debtor and his spouse were the only defendants in

           the money collection and foreclosure action for which Popular obtained a

           foreclosure judgment.


        There is a split among the courts on whether a debtor can include a mortgage

        in his or her Chapter 13 plan despite the absence of privity between the

        borrower and the mortgagor. The split centers on the courts interpretation of

        the term “claim” as it pertains to Chapter 13 proceedings. One line of cases,

        anchored on the Supreme Court of the United States in Johnson v. Home State

        Bank, 501 U.S. 78 (199) interprets the term “claim” broadly and permits

        debtors to cure defaulted mortgages within a Chapter 13 Plan even when no

        privity of contract exists between the debtor and creditors, A second line of


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        cases interprets the term “claim” narrowly, distinguishing Johnson, Id., and

        holding that a “claim” does not exist for matters where privity is absent

        between the debtor and creditor. As we previously indicated, Popular only

        included Debtor and his spouse in its money collection complaint and

        mortgage foreclosure, leaving out the signers of the mortgage note, Hector

        Nazario-Cortes, Ana Lopez Rodríguez and Glenda Rose Nazario. The Supreme

        Court in Johnson , Id. noted that Congress intended in §101(5) to "adopt the

        broadest available definition of ‘claim’" and that "right to payment [means]

        nothing more nor less than an enforceable obligation...." See Johnson,501 U.S.

        at ____, 111 S.Ct. at 2154, 115 L. Ed. at ____ (citing Pennsylvania Dept. of

        Public Welfare v. Davenport, 495 U.S. __, __, __, 110 S.Ct. 2131, __, __, 109

        L.Ed. 2d 588 (1990)). In this case, Banco Popular obtained an enforceable

        judgment against Debtor’s and Debtor’s property. On April 28, 2015, Debtor

        Alexis Ramirez Rosado, obtained Order of Discharge under 11 U.S.C. §727 in

        case 11-02825 BKT7, Ex Parte Alexis Ramirez Roado et als. A similar case

        to Johnson, Id.


        10.Article 1130 of the Civil Code of Puerto Rico, 1930 edition, 31 L.P.R.A.

           §3180, permits tender of payments and consignation of funds as payment


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           when same is refused by the creditor.


        11. Debtor has bought a Manager Check, dated June 2, 2017, from Scotiabank,

           to the name of Clerk, U.S. Bankruptcy Court to pay $1,276.00 to creditor

           Banco Popular de Puerto Rico, through the consignment procedure

           provided in 31 L.P.R.A. §3180 to the months of April and May, 2017 since

           the tender of say monthly payments were refused by Popular alleging lack

           of privity.


              WHEREFORE, Debtor, ALEXIS RAMIREZ ROSADO, respectfully
        requests from this Honorable Court to enter an order authorizing Debtor Alexis
        Ramirez Rosado to consign at the Clerk’s office the sum of $1,276.00 for
        Banco Popular de Puerto Rico as payment for the months of April and May,
        2017.



                               CERTIFICATE OF SERVICE

              I hereby certify that on this same date I electronically filed with this
        notice copy of the amended document, with the Clerk of the Court using the
        CM/ECF System which will send notification of such filing to the following:

        MONSITA LECAROZ ARRIBAS ustpregion21.hr.ecf@usdoj.gov

        ALEJANDRO OLIVERAS RIVERA aorecf@ch13sju.com

        CARLOS G BATISTA JIMENEZ on behalf of Creditor BANCO POPULAR DE
        PUERTO RICO lcdobatista@frauyasoc.com



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              I further certify that I have served this document by first class mail to the
        non-CM/ECF participants and to parties in interest that have filed notices of
        appearance pursuant to G.O. 05-09, included in the service list attached to the
        original hereof.

                          NOTICE AND RESPONSE TIME
                  TO ALL CREDITORS AND PARTIES IN INTEREST

        Within fourteen (14) days after service as evidenced by the certification, and an
        additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were
        served by mail, any party against whom this paper has been served, or any
        other party to the action who objects to the relief sought herein, shall serve and
        file an objection or other appropriate response to this paper with the Clerk’s
        office of the U.S. Bankruptcy Court for the District of Puerto Rico. If no
        objection or other response is filed within the time allowed herein, the paper
        will be deemed unopposed and may be granted unless: (I) the requested relief
        is forbidden by law; (ii) the requested relief is against public policy; or (iii) in
        the opinion of the Court, the interest of justice requires otherwise.

              In Bayamón, Puerto Rico, this June 3, 2017.


                                                /s/ Anibal Medina Rios
                                                Aníbal Medina Ríos
                                                USDCPR #125611
                                                Attorney for debtor
                                                Urb. Santa Cruz
                                                C 23 Calle Marginal
                                                Bayamón, P.R. 00961-6706
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